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                        UNITED STATES DISTRICT COURT
                           HERN DISTRICT
                       SOUTHERN DISTRICT OF
                                         OF GEORGU-.
                                            GEORG]   ^
                              BRUNSWICK DIVISION CR223"000 3
UNITED STATES OF AMERICA                    ) INDICTMENT NO.
                                            )
                V.                          ) 18 U.S.C. § 922(a)(6)
                                            ) False Statement During
DESIRAE HEINSLER                            ) Purchase of a Firearm
                                            )
                                            ) 18 U.S.C. § 924(a)(1)(A)
                                            ) False Statement During
                                            ) Purchase of a Firearm
                                                                          '* o




THE GRAND JURY CHARGES THAT:                                              g
                                                                          JD
                                    COUNT ONE
                     False Statement During Purchase of a Firearm         >
                                 18 U.S.C. § 922(a)(6)
                                                                          o      : .)
                                                                           ro

      On or about July 20, 2020, in Jeff Davis County, within the Southern District

of Georgia, the Defendant,

                               DESIRAE HEINSLER,

in connection with the acquisition offirearms, did knowingly make false and fictitious

written statements to Sellers Feed & Seed Inc., a licensed dealer of firearms within

the meaning of Chapter 44 of Title 18 of the United States Code, which statement

was intended and likely to deceive Sellers Feed & Seed, as to a fact to the lawfulness

of the sale of the firearms, in that Defendant falsely represented that she was the

actual buyer of the firearms, to wit: a Springfield Model 911, .38 caliber pistol; a

Springfield Model EMP, 9mm pistol; and a Keltec, Model PS, 9mm pistol, when, in

fact, as Defendant then and there well knew, Defendant was not the actual buyer of

the firearms.
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